          Case 2:19-ap-01456-WB                    Doc 18 Filed 11/01/19 Entered 11/01/19 16:07:18                                      Desc
                                                    Main Document    Page 1 of 1
                                                                                                                         ORDER No.
                                        UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

                                                       TRANSCRIPT ORDER FORM
                                                                                                                        CHAPTER 11.00
                                                                                                                        APPEAL?               Yes        No
     (File this form on the related case docket)                                                                        APPEAL No.
                                                                                                                                            (if known)
   Ordering Party’s Name: Shane J. Moses                                                       Attorney Bar#        250533

   Law Firm: Foley & Lardner LLP
   Mailing Address: 555 S. Flower St., Suite 3300
                          Los Angeles, CA 90071
   Person to Contact (If Judge-ordered: Transcriber to contact Procurement**): Sonia Gaeta
   Telephone: ( 213            972-4538
                              )______________ E-mail: sgaeta@foley.com
   Bankruptcy Case #: 2:19-bk-14989                                       Adversary Proceeding #/MP #: 2:19-ap-01456-WB
   Date of Hearing (complete a SEPARATE form for EACH hearing date): 10/28/2019                                        Time: 2:00 pm
   Debtor: Scoobeez, et al.
   Adversary Proceeding Name: Scoobeez                                                     vs. Amazon Logistics, Inc.
   Hearing Judge: J. Brand                                                                 Courtroom #: LA 1375
                Ben Hyatt
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    Transcript Type:                NOTE: The Court is not responsible for determining if a hearing has been previously
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                                                                   Other*                           (name of witness)
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